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EXHIBIT A ‐ Eligible/No PTO28 Discovery/Received a Deficiency Letter and response date has expired.


                                                                                                                    Zero
                                                                                                                    Compliance
                                                         Middle                                                     Deficiency
VCN      FirmName               LastName       FirstName Initial        Case Caption               Docket #         Letter Date

                                                                        Smith, Linda v. Merck &    2:06‐cv‐04027‐
1068215 Altman & Prescott       Smith          Linda      R.            Co., Inc                   EEF‐DEK              8/13/2008

                                                                        Graham, Cassie v. Merck 2:08‐cv‐00879‐
1090985 Anderson, John H.       Crowell        Eula                     & Co., Inc.             EEF‐DEK                 8/13/2008

                                                                        Nelson, Louis v. Merck & 2:08‐cv‐00880‐
1090982 Anderson, John H.       Blakenship     Lamond     Sr.           Co., Inc.                EEF‐DEK                8/13/2008

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1090979 Anderson, John H.       Newsome        Linda                    Co., Inc.                EEF‐DEK                8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118745 LLC                     Becnel         Emily                    & Co., Inc.                EEF‐DEK              8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118746 LLC                     Berry          Lillie     Mae           & Co., Inc.                EEF‐DEK              8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118749 LLC                     Dandridge      Dorothy                  & Co., Inc.                EEF‐DEK              8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118752 LLC                     Keeton         Brenda                   & Co., Inc.                EEF‐DEK              8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118758 LLC                     Veal           Ruby                     & Co., Inc.                EEF‐DEK              8/13/2008

        Austin & Associates,                                            Berry, Lillie Mae v. Merck 2:05‐cv‐04553‐
1118759 LLC                     Wright         Shirley                  & Co., Inc.                EEF‐DEK              8/13/2008

        Barham, Warner &                                                Crooks, Johnie R. v.       2:05‐cv‐02020‐
1074870 Bellamy, L.L.C.         Crooks         Johnie     R.            Merck & Co., Inc.          EEF‐DEK              8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Ashbaugh, Paul K. v.       2:05‐cv‐04150‐
1004334 Miles, P.C.             Ashbaugh       Paul       Kurt          Merck & Co., Inc.          EEF‐DEK              8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               Geasley, Pat v. Merck &    2:05‐cv‐04508‐
1003978 Miles, P.C.             Reaves         Steve                    Co., Inc.                  EEF‐DEK              8/13/2008
        Beasley, Allen, Crow,
        Methvin, Portis &                                               McCoy, Joyce v. Merck & 2:05‐cv‐04515‐
1002899 Miles, P.C.             McCoy          Danny                    Co., Inc.               EEF‐DEK                 8/13/2008

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1113963 Becker & D'Agostino     BONILLA        ANA                      Co., Inc.                  EEF‐DEK              8/13/2008

        Blizzard, McCarthy &                                            Alegria, Jose v. Merck &   2:06‐cv‐05990‐
1015330 Nabers, LLP             Sparr          Raymond J.               Co., Inc.                  EEF‐DEK              8/13/2008



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1015270 Nabers, LLP            Jones          Lynn                   Co., Inc.                 EEF‐DEK            8/13/2008

                                                                     Ahmad, Fatemeh v.         2:06‐cv‐06441‐
1052566 Branch Law Firm        Hicks          Agnes     H.           Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1052831 Branch Law Firm        Ledbetter      Saul                   Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                     Ahmad, Fatemeh v.         2:06‐cv‐06441‐
1053272 Branch Law Firm        Pederson       Frances                Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                     Ahmad, Fatemeh v.         2:06‐cv‐06441‐
1053843 Branch Law Firm        Wagner         Wendie                 Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                     Aleamoni, Nancy v.        2:06‐cv‐06438‐
1051913 Branch Law Firm        Carlson, III   Harry                  Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                     Aleamoni, Nancy v.        2:06‐cv‐06438‐
1052787 Branch Law Firm        Knight         Carol                  Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                     Aleamoni, Nancy v.        2:06‐cv‐06438‐
1052929 Branch Law Firm        Mallon         James                  Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1053503 Branch Law Firm        Sanchez        Frank                  Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                     Allen, Lonnie Jr. v. Merck 2:06‐cv‐06633‐
1052738 Branch Law Firm        Kangas         Paul      M.           & Co., Inc.                EEF‐DEK           8/13/2008

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1053773 Branch Law Firm        Treece         Velma                  & Co., Inc.                EEF‐DEK           8/13/2008

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1051885 Branch Law Firm        Cabatbat       Melodia                & Co., Inc.               EEF‐DEK            8/13/2008

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1051887 Branch Law Firm        Caine          Harriet                & Co., Inc.               EEF‐DEK            8/13/2008

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1052755 Branch Law Firm        Kennedy        Donald                 Co., Inc.                EEF‐DEK             8/13/2008

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1118741 Brown Law Firm, The    Broussard      Bart      A            & Co., Inc.              EEF‐DEK             8/13/2008

        Cantrell, Cantrell &                                         Davis, George W. v.       2:05‐cv‐06244‐
1113976 Fisher                 Davis          George    W            Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                     Atkins, Stella v. Merck & 2:05‐cv‐04324‐
1113958 Carey & Danis, LLC     Rogers         Alice                  Co., Inc.                 EEF‐DEK            8/14/2008

                                                                     Cavins, Jane v. Merck &   2:05‐cv‐03816‐
1113957 Carey & Danis, LLC     Fisher         Ruby                   Co., Inc.                 EEF‐DEK            8/13/2008

                                                                     Bartley, Samuel v. Merck 2:06‐cv‐02196‐
1076867 Cellino & Barnes       Shannon        Bryant    K.           & Co., Inc.              EEF‐DEK             8/13/2008
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1118723 Ernst and Associates   Taylor      Antionette A             Merck & Co., Inc.           EEF‐DEK           8/13/2008

        Eubanks, Gary &                                             Oaks, James v. Merck &      2:05‐cv‐05062‐
1062648 Associates             McGinnis    Danny      R             Co., Inc.                   EEF‐DEK           8/13/2008

        Fabbro, Steven A., Law                                      Gutierrez, Marbely v.       2:06‐cv‐11015‐
1088621 Office of              Gutierrez   Marbely                  Merck & Co., Inc.           EEF‐DEK           8/14/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                           Montoya, Cristobal v.       2:07‐cv‐00735‐
1071225 Conklin, Olds          Montoya     Filberto                 Merck & Co., Inc.           EEF‐DEK           8/13/2008
        Farr, Kaufmann,
        Sullivan, Jensen,
        Medsker, Nichols,                                           Robb, Leonard S. v.         2:06‐cv‐10314‐
1071248 Conklin, Olds          Elizie      West       G.            Merck & Co., Inc.           EEF‐DEK           8/13/2008

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1029172 Fenner & Boles LLC     Alexander   Arvil      L.            Co., Inc.                EEF‐DEK              8/13/2008

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1029217 Fenner & Boles LLC     Weber       Jane       M.            Co., Inc.               EEF‐DEK               8/13/2008

        Fibich, Hampton &                                           Blair, Ruby v. Merck &      2:06‐cv‐06817‐
1100373 Leebron, LLP           Blair       Ruby                     Co., Inc.                   EEF‐DEK           8/13/2008

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1104452 Gallagher Law Firm (TX) Dandles    James                    & Co., Inc.             EEF‐DEK               8/13/2008

                                                                    Gallagos, Margarita v.      2:06‐cv‐03193‐
1104502 Gallagher Law Firm (TX) Gallegos   David                    Merck & Co., Inc.           EEF‐DEK           8/13/2008

                                                                    Bua, Hugo v. Merck &        2:05‐cv‐01552‐
1068030 Godosky & Gentile, P.C. Bua        Hugo                     Co., Inc.                   EEF‐DEK           8/14/2008

                                                                    Curls, Anna L. v. Merck & 2:06‐cv‐03882‐
1114032 Hensley & Dawson, PSC Curls        Anna       L             Co., Inc.                 EEF‐DEK             8/13/2008

        Herman, Herman, Katz                                        Allison, Kelly v. Merck &   2:05‐cv‐04450‐
1081153 & Cotler, LLP        Plemons       Lemma      M.            Co., Inc.                   EEF‐DEK           8/13/2008

        Herman, Herman, Katz                                        Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081050 & Cotler, LLP        Aguillard     Joseph     Jr.           Co., Inc.                  EEF‐DEK            8/13/2008

        Herman, Herman, Katz                                        Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081096 & Cotler, LLP        Dobard        Albert                   Co., Inc.                  EEF‐DEK            8/13/2008

        Herman, Herman, Katz                                        Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081115 & Cotler, LLP        Hughes        Carolyn    J.            Co., Inc.                  EEF‐DEK            8/13/2008

        Herman, Herman, Katz                                        Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081120 & Cotler, LLP        Jackson       Jessie                   Co., Inc.                  EEF‐DEK            8/13/2008

        Herman, Herman, Katz                                        Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081128 & Cotler, LLP        Joseph        Shelly     J.            Co., Inc.                  EEF‐DEK            8/13/2008

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1081164 & Cotler, LLP        Rogers‐Taylor Glynis                     Co., Inc.                  EEF‐DEK           8/13/2008

        Herman, Herman, Katz                                          Jenkins, Jackie v. Merck & 2:05‐cv‐04416‐
1081197 & Cotler, LLP        Young            Kevin                   Co., Inc.                  EEF‐DEK           8/13/2008

        Hollis, Wright &                                              Clark, Pearlie M. v. Merck 2:07‐cv‐01419‐
1113423 Harrington                Clark       Percy                   & Co., Inc.                EEF‐DEK           8/13/2008

        Howard, Lewis &                                               Broce, Donna v. Merck & 2:07‐cv‐00738‐
1112207 Petersen                  Broce       Donna      L.           Co., Inc.               EEF‐DEK              8/13/2008

        Humphreys, James F. &                                         Sethi, Hercharan K. v.    2:06‐cv‐10324‐
1085348 Associates            Sethi           Frederic   S            Merck & Co., Inc.         EEF‐DEK            8/13/2008

        Jackson, Michael W.,                                          Carter, Yolanda M. v.     2:06‐cv‐10673‐
1114031 Attorney at Law           Carter      Yolanda    M.           Merck & Co., Inc.         EEF‐DEK            8/13/2008

                                                                      Filippini, John v. Merck & 2:07‐cv‐01257‐
1106569 Jenkins, Arthur L., Jr.   Filippini   John                    Co., Inc.                  EEF‐DEK           8/13/2008

        Johnson, David H., Law                                        Gunn, Ruth A. v. Merck & 2:06‐cv‐00316‐
1114014 Office of              Gunn           Ruth       A.           Co., Inc.                EEF‐DEK             8/13/2008

        Johnson, David H., Law                                        Mahon, Cheryl A. v.       2:05‐cv‐06542‐
1114013 Office of              Mahon          Cheryl     A.           Merck & Co., Inc.         EEF‐DEK            8/13/2008

        Johnson, David H., Law                                        Scott, Verna v. Merck &   2:05‐cv‐06206‐
1114012 Office of              Scott          Verna      D.           Co., Inc.                 EEF‐DEK            8/13/2008
        Jones, Swanson,
        Huddell & Garrison,    AUSTIN,                                Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105224 L.L.C.                 DECEASED       BOBBY                   Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                   CASSANDR                Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105248 L.L.C.                 BROWN          A                       Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105251 L.L.C.                 BUNCH          LUBERTIA                Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                   FAY                     Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105264 L.L.C.                 COLLIER        LYNETTE                 Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105326 L.L.C.                 GIBSON         JOYCE                   Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,    GORDON,                                Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105327 L.L.C.                 DECEASED       MARCEL                  Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105338 L.L.C.                 HARMON         JAMES                   Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105342 L.L.C.                 HARTFIELD      BETTY                   Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                           Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105347 L.L.C.                 HENSON         EDWIN      L.           Co., Inc.               EEF‐DEK              8/13/2008
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        Huddell & Garrison,                CHARLOTT                Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105513 L.L.C.                KLEINPETER   E                       Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,   MCKINLEY,                            Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105399 L.L.C.                DECEASED     JOHN                    Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                CASSANDR                Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105408 L.L.C.                MORRIS       A                       Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,   MORVAN,                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105409 L.L.C.                DECEASED     RITA                    Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,   O'NEAL,                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105416 L.L.C.                DECEASED     MARY       O.           Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105418 L.L.C.                PARKER       AMEAL                   Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105419 L.L.C.                PARKMAN      SHIRLEY                 Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105428 L.L.C.                POWELL       C. P.                   Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105431 L.L.C.                RANDALL      PAULETTE                Co., Inc.               EEF‐DEK           8/13/2008
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        Huddell & Garrison,   ROSS,                                Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105440 L.L.C.                DECEASED     NORMAN                  Co., Inc.               EEF‐DEK           8/13/2008
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        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105441 L.L.C.                ROUSSEL      BELLE                   Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105442 L.L.C.                ROUSSEL, SR. LOUIS                   Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105458 L.L.C.                SIMPSON      LILLY                   Co., Inc.               EEF‐DEK           8/13/2008
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1105468 L.L.C.                STALLWORTH BARBARA                   Co., Inc.               EEF‐DEK           8/13/2008
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        Huddell & Garrison,   STELLY,                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105469 L.L.C.                DECEASED     JOHN                    Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,       TAYLOR ‐
        Huddell & Garrison,   WILSON,                              Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105480 L.L.C.                DECEASED     SANDRA                  Co., Inc.               EEF‐DEK           8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105482 L.L.C.                THOMAS       TANYA                   Co., Inc.               EEF‐DEK           8/13/2008
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        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105487 L.L.C.                TINSLEY      JAMES                   Co., Inc.               EEF‐DEK           8/13/2008
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        Huddell & Garrison,                                        Allen, Donna v. Merck & 2:05‐cv‐04435‐
1105494 L.L.C.                VINCENT      ANGELA                  Co., Inc.               EEF‐DEK           8/13/2008
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1105505 L.L.C.                 WILLIAMS        ELAINE                   Co., Inc.               EEF‐DEK              8/13/2008
        Jones, Swanson,
        Huddell & Garrison,                                             Campbell, Victoria C. v.   2:06‐cv‐06682‐
1105369 L.L.C.                 JONES           WILLIE                   Merck & Co., Inc.          EEF‐DEK           8/13/2008

        Kalbaugh, Pfund &                                               Montgomery, Lewis C. v. 2:05‐cv‐00532‐
1026277 Messersmith            Montgomery Lewis            C.           Merck & Co., Inc.       EEF‐DEK              8/13/2008

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1107601 Ketcherside, John F.   Watson          Brenda      D            & Co., Inc.             EEF‐DEK              8/13/2008

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1051189 Lamb Firm, LLC, The    Rodriguez       Elba                     Merck & Co., Inc.          EEF‐DEK           8/13/2008

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1050758 Lamb Firm, LLC, The    Arroyo‐Acosta Miguelina                  Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1050768 Lamb Firm, LLC, The    Baez‐Maymi      Lucia                    Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1050800 Lamb Firm, LLC, The    Castrillo       Maria       T.           Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1037686 Lanier Law Firm, PC    Newell          Carol       P            Co., Inc.                  EEF‐DEK           8/13/2008

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1037695 Lanier Law Firm, PC    Portis‐Carter   Helen       V            Co., Inc.                  EEF‐DEK           8/13/2008

        Levenberg, David,                                               Ashby, Connie v. Merck & 2:05‐cv‐03609‐
1114033 Esquire                ASHBY           CONNIE      C            Co., Inc.                EEF‐DEK             8/13/2008
        Lieff, Cabraser,
        Heimann & Bernstein,                                            Oakley, James S. v. Merck 2:05‐cv‐05912‐
1064842 LLP                    Oakley          James       S            & Co., Inc.               EEF‐DEK            8/14/2008

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1082745 Matthews & Associates Arnold           Augustina                Merck & Co., Inc.          EEF‐DEK           8/13/2008

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1083380 Matthews & Associates Best             Lonnie      E            Merck & Co., Inc.          EEF‐DEK           8/13/2008

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1084126 Matthews & Associates Caraway          Karen       J            Merck & Co., Inc.          EEF‐DEK           8/13/2008

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1083973 Matthews & Associates Cecil            Joyce       A            Merck & Co., Inc.          EEF‐DEK           8/13/2008

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1083567 Matthews & Associates Beverly          Albert                   Merck & Co., Inc.          EEF‐DEK           8/13/2008

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1083126 Matthews & Associates Blackwell        Marsha      A            Merck & Co., Inc.          EEF‐DEK           8/13/2008

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1083741 Matthews & Associates Comeaux          Edmond                   Merck & Co., Inc.          EEF‐DEK           8/13/2008
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1083747 Matthews & Associates Davis      Augusta                 Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083048 Matthews & Associates Hamilton   Kim                     Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083524 Matthews & Associates James      Hilton                  Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083291 Matthews & Associates Ross       Sylvia                  Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083202 Matthews & Associates Thomas     Bandele                 Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083375 Matthews & Associates Voiron     Dorothy     E           Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083184 Matthews & Associates Ward       Joy         L           Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083790 Matthews & Associates Williams   Henry                   Merck & Co., Inc.          EEF‐DEK            8/13/2008

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1083960 Matthews & Associates Cathey     Willie                  & Co., Inc.                EEF‐DEK            8/13/2008

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1083443 Matthews & Associates Clapp      Vernon      O           Co., Inc.                   EEF‐DEK           8/13/2008

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1083027 Matthews & Associates Collins    Ernestine               Co., Inc.                   EEF‐DEK           8/13/2008

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1083289 Matthews & Associates Smith      Patricia    A           Co., Inc.                   EEF‐DEK           8/13/2008

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1083479 Matthews & Associates Cox        Sara        L           & Co., Inc.              EEF‐DEK              8/13/2008

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1083587 Matthews & Associates Douglas    William     N           & Co., Inc.              EEF‐DEK              8/13/2008

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1083039 Matthews & Associates Foster     Carron      A           & Co., Inc.              EEF‐DEK              8/13/2008

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1083050 Matthews & Associates Hubek      Goldie      M           & Co., Inc.              EEF‐DEK              8/13/2008

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1083869 Matthews & Associates Spivey     Richard     B           & Co., Inc.              EEF‐DEK              8/13/2008

                                                                 Cable, Linda M. v. Merck 2:05‐cv‐04759‐
1083166 Matthews & Associates Vickers    Timothy     A           & Co., Inc.              EEF‐DEK              8/13/2008

                              Benitez                            Cabrera, Antonia A. v.     2:05‐cv‐04589‐
1083395 Matthews & Associates Boines     Ana         H           Merck & Co., Inc.          EEF‐DEK            8/13/2008
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1083294 Matthews & Associates Bruno Jurgens Maria                  Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1083473 Matthews & Associates Correa Lopez Delia                   Merck & Co., Inc.         EEF‐DEK            8/13/2008

                              Figueroa                             Cabrera, Antonia A. v.    2:05‐cv‐04589‐
1083409 Matthews & Associates Casanova     Serafin                 Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1083902 Matthews & Associates Cordle       June        A           Co., Inc.                  EEF‐DEK           8/13/2008

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1083428 Matthews & Associates Cotton       Larry       M           Co., Inc.                  EEF‐DEK           8/13/2008

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1083821 Matthews & Associates Crowder      Betty       G           Co., Inc.                  EEF‐DEK           8/13/2008

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1084095 Matthews & Associates Dantzler     Gloria      J           Co., Inc.                  EEF‐DEK           8/13/2008

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1084015 Matthews & Associates Davis        Juanetta    M           Co., Inc.                  EEF‐DEK           8/13/2008

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1083011 Matthews & Associates DeRosier     Celestina   E           Co., Inc.                  EEF‐DEK           8/13/2008

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1084058 Matthews & Associates Elliott      Edward      L           Co., Inc.                  EEF‐DEK           8/13/2008

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1083738 Matthews & Associates Fitzgerald   Laura       M           Co., Inc.                  EEF‐DEK           8/13/2008

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1083338 Matthews & Associates Fox          Vernon      F           Co., Inc.                  EEF‐DEK           8/13/2008

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1083445 Matthews & Associates Garcia       Alice                   Co., Inc.                  EEF‐DEK           8/13/2008

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1084082 Matthews & Associates Graham       Sandra      H           Co., Inc.                  EEF‐DEK           8/13/2008

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1084512 Matthews & Associates Coleman      James                   & Co., Inc.             EEF‐DEK              8/13/2008

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1084505 Matthews & Associates Bolin        Pearline    A           Co., Inc.                EEF‐DEK             8/13/2008

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1083470 Matthews & Associates Cordero      Nilda       M           & Co., Inc.                EEF‐DEK           8/13/2008

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1084116 Matthews & Associates Higgins      Stephen     H           Merck & Co., Inc.         EEF‐DEK            8/13/2008

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1083555 Matthews & Associates Higgins      Othell                  Merck & Co., Inc.         EEF‐DEK            8/13/2008
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1083696 Matthews & Associates Houde      Roselyn      M           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083214 Matthews & Associates Howard     Jim                      Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1084265 Matthews & Associates Jackson    Arnetta      K           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083702 Matthews & Associates Johnson    Carolyn      S           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1084182 Matthews & Associates Johnson    Neva         J           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1084142 Matthews & Associates Jones      Cheryl       A           Merck & Co., Inc.         EEF‐DEK           8/13/2008

                                                                  Jenkins, Kenneth v.       2:06‐cv‐07116‐
1082912 Matthews & Associates King       Sheryle                  Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083557 Matthews & Associates Lance      Ronald       M           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083742 Matthews & Associates Langford   Edward       B           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083085 Matthews & Associates Logan      Robert       G           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1084158 Matthews & Associates Ram        Satish                   Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1082909 Matthews & Associates Spahn      Irma                     Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083267 Matthews & Associates Robinson   Doris        N           Co., Inc.                 EEF‐DEK           8/13/2008

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1082688 Matthews & Associates Martin     Wesley       M           & Co., Inc.             EEF‐DEK             8/13/2008

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1084207 Matthews & Associates Mason      Bennie                   & Co., Inc.             EEF‐DEK             8/13/2008

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1083878 Matthews & Associates McGee      Iramintier               & Co., Inc.             EEF‐DEK             8/13/2008

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1084194 Matthews & Associates McKinnon   Cindy        L           & Co., Inc.             EEF‐DEK             8/13/2008

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1084112 Matthews & Associates McLean     Dennis       M           & Co., Inc.             EEF‐DEK             8/13/2008

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1084138 Matthews & Associates Mercer     Jerry        A           & Co., Inc.             EEF‐DEK             8/13/2008
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                                                                     McCarty, Peggy E. v.     2:06‐cv‐01795‐
1083530 Matthews & Associates McCarty        Peggy       E           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1084145 Matthews & Associates Montalto       Karen       A           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1083941 Matthews & Associates Murrell        Dorenda     K           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1084251 Matthews & Associates Nally          Philip      E           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1084152 Matthews & Associates Page           David       J           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1083171 Matthews & Associates Reese          William     R           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1084066 Matthews & Associates Aguirre Colon Emerita                  Merck & Co.. Inc.        EEF‐DEK           8/13/2008

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1084026 Matthews & Associates Costas Perez   Luis        R           Merck & Co.. Inc.        EEF‐DEK           8/13/2008

                              Morales                                Padilla, Rosa M. A. v.   2:06‐cv‐07042‐
1084124 Matthews & Associates Santiago       Paula                   Merck & Co.. Inc.        EEF‐DEK           8/13/2008

                              Rosado                                 Padilla, Rosa M. A. v.   2:06‐cv‐07042‐
1084022 Matthews & Associates Sanchez        Hiroshima               Merck & Co.. Inc.        EEF‐DEK           8/13/2008

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1083842 Matthews & Associates Soto Silva     Reynaldo                Merck & Co.. Inc.        EEF‐DEK           8/13/2008

                              Velez                                  Padilla, Rosa M. A. v.   2:06‐cv‐07042‐
1083994 Matthews & Associates Rodriguez      Delia                   Merck & Co.. Inc.        EEF‐DEK           8/13/2008

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1083951 Matthews & Associates Noil           Elnora      M           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1083610 Matthews & Associates Rogers         Edwin       C           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1084389 Matthews & Associates Shannon        Timothy     L           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1083262 Matthews & Associates Smart          William     I           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1083512 Matthews & Associates Smith          Jeanie      H           Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1083852 Matthews & Associates Smith          Katherine J             Merck & Co., Inc.        EEF‐DEK           8/13/2008

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1084107 Matthews & Associates Spears         Beverly     J           Merck & Co., Inc.        EEF‐DEK           8/13/2008
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1083344 Matthews & Associates Stewart       Dorothy   E           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083788 Matthews & Associates Stone         James                 Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083597 Matthews & Associates Swank         Ronnie    L           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1084186 Matthews & Associates Taylor        Diana                 Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083716 Matthews & Associates Watson        Warren                Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1084104 Matthews & Associates West          David     P           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1083556 Matthews & Associates Wisdom        Richard   L           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1084296 Matthews & Associates Wright        Richard   W           Merck & Co., Inc.         EEF‐DEK           8/13/2008

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1082881 Matthews & Associates Young         Gloria                Merck & Co., Inc.         EEF‐DEK           8/13/2008

                              Montalvo                            Velez, Ruben M. v. Merck 2:05‐cv‐04590‐
1083533 Matthews & Associates Santiago      Carmen                & Co., Inc.              EEF‐DEK            8/13/2008

                              Ramirez                             Velez, Ruben M. v. Merck 2:05‐cv‐04590‐
1083297 Matthews & Associates Torres        Rosa                  & Co., Inc.              EEF‐DEK            8/13/2008

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1082948 Matthews & Associates Soto Rivera   Tomasa                & Co., Inc.              EEF‐DEK            8/13/2008

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1083673 Matthews & Associates Vega Valentin Lidia     E           & Co., Inc.              EEF‐DEK            8/13/2008

        Mayeux, Donald L., Law                                    Fontenot, Landry v.       2:07‐cv‐06876‐
1119211 Firm                   Fontenot     Landry                Merck & Co., Inc.         EEF‐DEK           8/13/2008

        Miller Firm, LLC, The                                     Cates, James H. v. Merck 2:06‐cv‐05994‐
1098168 (PA)                    Johnson     Mike                  & Co., Inc.              EEF‐DEK            8/13/2008

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1093920 Mithoff Law Firm        Johnson     Doyle                 Merck & Co., Inc.         EEF‐DEK           8/14/2008

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1108698 Mithoff Law Firm        Johnson     Sandra                & Co., Inc.             EEF‐DEK             8/14/2008

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1093929 Mithoff Law Firm        Robbins     David                 & Co., Inc.               EEF‐DEK           8/14/2008

        Ofodile & Associates,                                     Ewers, Romeal v. Merck    2:07‐cv‐08079‐
1113816 P.C.                    EWERS       ROMEAL    A           & Co., Inc.               EEF‐DEK           8/13/2008
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        Pagniello, Robert, Law                                       Allen, Claudette F. v.     2:06‐cv‐06520‐
1081739 Offices of             Allen         Claudette F.            Merck & Co., Inc.          EEF‐DEK             8/13/2008

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1011029 Phillips & Associates   Richland     Margo                   & Co., Inc.              EEF‐DEK               8/13/2008

        Pittman, Dutton, Kirby                                       Smith, Billy G. Jr. v. Merck 2:06‐cv‐09700‐
1038670 & Hellums, P.C.        Smith         Billy      G.           & Co., Inc.                  EEF‐DEK           8/15/2008

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1113983 Rawlins Firm, PLLC, The Love         Mavis                   Co., Inc.                  EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                         Abraham, Janice v. Merck 2:07‐cv‐01659‐
1061687 APLC                    Abraham      Janice                  & Co., Inc.              EEF‐DEK               8/13/2008

        Schmidt, Douglas M.,                                         Collins, Doris v. Merck & 2:07‐cv‐01656‐
1061693 APLC                    Collins      Doris                   Co., Inc.                 EEF‐DEK              8/13/2008

        Schmidt, Douglas M.,                                         Daniel, Alfred Jr. v. Merck 2:07‐cv‐01631‐
1061696 APLC                    Daniel       Alfred                  & Co., Inc.                 EEF‐DEK            8/13/2008

        Schmidt, Douglas M.,                                         Declouet, Harold v.        2:07‐cv‐01637‐
1061698 APLC                    Declouet     Harold                  Merck & Co., Inc.          EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                         Fontenot, Willie v. Merck 2:07‐cv‐01677‐
1061700 APLC                    Fontenot     Willie                  & Co., Inc.               EEF‐DEK              8/13/2008

        Schmidt, Douglas M.,                                         Freeman, Enola v. Merck 2:07‐cv‐01652‐
1061702 APLC                    Freeman      Enola                   & Co., Inc.             EEF‐DEK                8/13/2008

        Schmidt, Douglas M.,                                         Gamble, Rose v. Merck & 2:06‐cv‐01661‐
1061703 APLC                    Gamble       Rose                    Co., Inc.               EEF‐DEK                8/13/2008

        Schmidt, Douglas M.,                                         Gaspard, Mabel v. Merck 2:07‐cv‐01636‐
1061705 APLC                    Gaspard      Mabel                   & Co., Inc.             EEF‐DEK                8/13/2008

        Schmidt, Douglas M.,                                         Ivy, Muron v. Merck &      2:07‐cv‐01648‐
1061713 APLC                    Ivy          Muron                   Co., Inc.                  EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                         Jackson, Isaac v. Merck & 2:07‐cv‐01632‐
1061711 APLC                    Jackson      Isaac                   Co., Inc.                 EEF‐DEK              8/13/2008

        Schmidt, Douglas M.,    Thierry                              Jackson, Sandra v. Merck 2:07‐cv‐01634‐
1061741 APLC                    (deceased)   Bessie                  & Co., Inc.              EEF‐DEK               8/13/2008

        Schmidt, Douglas M.,                                         Jasmine, Annetta v.        2:07‐cv‐01646‐
1061714 APLC                    Jasmine      Annetta                 Merck & Co., Inc.          EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                         Joubert, Lawrence v.       2:07‐cv‐01669‐
1061715 APLC                    Joubert      Lawrence                Merck & Co., Inc.          EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                         Joubert, Shirlene v.       2:07‐cv‐01658‐
1061716 APLC                    Joubert      Shirlene                Merck & Co., Inc.          EEF‐DEK             8/13/2008

        Schmidt, Douglas M.,                                         LeBlanc, James v. Merck    2:07‐cv‐01660‐
1061723 APLC                    LeBlanc      James                   & Co., Inc.                EEF‐DEK             8/13/2008
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1061726 APLC                   Lee           Minnie                   Co., Inc.                EEF‐DEK            8/13/2008

        Schmidt, Douglas M.,   Levings                                Levings, Daryl v. Merck & 2:07‐cv‐01675‐
1061730 APLC                   (deceased)    Auddie                   Co., Inc.                 EEF‐DEK           8/13/2008

        Schmidt, Douglas M.,                                          Lewis, Catherine v. Merck 2:07‐cv‐01635‐
1061724 APLC                   Lewis         Catherine                & Co., Inc.               EEF‐DEK           8/13/2008

        Schmidt, Douglas M.,                                          Malbreaux, Yola v. Merck 2:07‐cv‐01641‐
1061727 APLC                   Malbreaux     Yola                     & Co., Inc.              EEF‐DEK            8/13/2008

        Schmidt, Douglas M.,                                          Schexnayder, Tommie v. 2:07‐cv‐01668‐
1061735 APLC                   Schexnayder   Tommie                   Merck & Co., Inc.      EEF‐DEK              8/13/2008

        Schmidt, Douglas M.,                                          Simon, Alcide v. Merck & 2:07‐cv‐01662‐
1061739 APLC                   Simon         Alceede                  Co., Inc.                EEF‐DEK            8/13/2008

        Schmidt, Douglas M.,                                          Thomas, Willie Mae v.    2:07‐cv‐01638‐
1061738 APLC                   Thomas        Willie Mae               Merck & Co., Inc.        EEF‐DEK            8/13/2008

        Schmidt, Douglas M.,                                          Thompson, John v. Merck 2:07‐cv‐01663‐
1061737 APLC                   Thompson      John                     & Co., Inc.             EEF‐DEK             8/13/2008

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1073488 Silverman & Fodera     Rosa          Israel                   Co., Inc.                EEF‐DEK            8/14/2008

        Sklodowski, Robert L. &                                       Waldman, Evelyn v.       2:06‐cv‐11067‐
1114001 Associates              Waldman      Evelyn                   Merck & Co., Inc.        EEF‐DEK            8/13/2008

        Smith, Michael,                                               Davenport, Laura v.      2:06‐cv‐00096‐
1111659 Attorney at Law        BISAZZA       MAMIE        M           Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,                                               Davenport, Laura v.      2:06‐cv‐00096‐
1111663 Attorney at Law        DAVENPORT     LAURA        J           Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,                                               Davenport, Laura v.      2:06‐cv‐00096‐
1111658 Attorney at Law        DAVIS         MAUDIE       H           Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,                                               Davenport, Laura v.      2:06‐cv‐00096‐
1111665 Attorney at Law        DRAMIS        ELEANOR                  Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,                                               Davenport, Laura v.      2:06‐cv‐00096‐
1111666 Attorney at Law        KONGSTVEDT ROBERT                      Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,                                               Davenport, Laura v.      2:06‐cv‐00096‐
1111660 Attorney at Law        MADDOX        BERNICE                  Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,                                               Davenport, Laura v.      2:06‐cv‐00096‐
1111661 Attorney at Law        PANARISI      JOSEPH                   Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,        YAGHIAZARIA                            Davenport, Laura v.      2:06‐cv‐00096‐
1111662 Attorney at Law        N           ARAM                       Merck & Co. Inc.         EEF‐DEK            8/14/2008

        Smith, Michael,                                               Williams, Cleola v. Merck 2:06‐cv‐08313‐
1111657 Attorney at Law        WILLIAMS      CLEOLA                   & Co., Inc.               EEF‐DEK           8/14/2008
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1079944 Stipe, Harper Law Firm Stuckey   Leo                    Merck & Co., Inc.        EEF‐DEK           8/14/2008
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        Weitz & Luxenberg,    Sansotta                          Herminia v. Merck & Co., 2:05‐cv‐06403‐
1032464 P.C.                  Navarro    Herminia               Inc.                     EEF‐DEK           8/15/2008

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1078757 Young Firm, The       Keown      Addine     L           Merck & Co., Inc.       EEF‐DEK            8/15/2008

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1078760 Young Firm, The       Lahmann    Randall    L           & Co., Inc.             EEF‐DEK            8/15/2008




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